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Attorney for Plaintiff

Royce Keith Williams in Propria Persona
48796 Taos Road

Cabazon, California 92230

 

 

 

 

 

ARS)

Riverside County Department of Public Bebh AMENDED COMPLAINT
Social Services, Banning Police | FOR DEPRIVATION OF CIVIL
Department, Robert Fisher, Jeff Perry, RIGHTS

Nicole Stolar, Alicia Dickens, Dr. Sandra

 

 

Murray, Title 42 U.S.C. 1983
Defendant(s)
JURY TRIAL DEMANDED

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Civil Rights Violation - 1

 

 

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email: send2.keith@gmail.com ae *3 —_|
UNITED STATES DISTRICT COURT So =
CENTRAL DISTRICT OF CALIFORNIA 8 ™
Royce Keith Williams CASE NUMBER
Plaintiff ED) CV oF - 01632
vs . LP
ABC

 

 

 

 

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JURY DEMAND........cccccccsscesscssssesececseeeeceseceseceseenseceersceeseesecssscssessssesssesessseeseesseees 81
NATURE OF THE ACTION

1. This is a civil rights action for damages and injunctive relief under 42
U.S.C. § 1983, 42 28 U.S.C. 1343(a) (1) (2) (3) 42 U.S.C. § 1985, 42
U.S.C. § 1986, 42 U.S.C. § 1988(b), and the common laws of the State of
California arising from a chilling and malicious acts of misconduct by the
Department of Public Social Services, the Banning Police Department,
Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert Fisher and Jeff
Perry, while acting in a civil conspiracy “under color of law”, outside
the scope of their lawful authority, in violation of Plaintiff's
constitutional rights under the 4" and 14" amendments.

2. As a result of the combined unlawful actions of the Defendant(s), which
resulted from two unlawful search and seizures, in Plaintiff's home,
Plaintiff has been prosecuted in juvenile and criminal court for
termination of his parental rights, and criminally for child abuse and
neglect. Plaintiffs was falsely arrested and maliciously prosecuted by
the defendant(s), which has resulted in Plaintiff losing his job, familial
relationship with his wife, son and step daughter which has devastated
the family. This malicious prosecution which has been brought and

sustained against the Plaintiff over a period of more than one year based

Civil Rights Violation - 3

 

 
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on the fabrication of evidence and perjury by the defendants, the
Department of Public Social Services, the Banning Police Department,
Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert Fisher and Jeff
Perry and has resulted in a miscarriage of justice against the Plaintiff.

3. From December 11, 2005 to the present date the Department of Public
Social Services, the Banning Police Department, Nicole Stolar, Alicia
Dickens, Dr. Sandra Murray, Robert Fisher and Jeff Perry in their official
and individual capacity, individually and in concert, maliciously
conspired to bring false charges, of child abuse and neglect, against
Plaintiff. The Department of Public Social Services, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry knew that charges against the Plaintiff were false
and unsupported by the evidence with regard to Plaintiff.

4, The Department of Public Social Services, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry charges against Plaintiff in the juvenile court and
criminal court can be easily contradicted by physical evidence,
documentary evidence and other witnesses. In their rush to accuse the
innocent Plaintiff, the Department of Public Social Services, the Banning

Police Department, Nicole Stolar, Alicia Dickens, Robert Fisher and Jeff

Civil Rights Violation - 4

 

 

 
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Perry willfully ignored and were deliberately indifferent to overwhelming
evidence of Plaintiffs’ actual innocence.

5. Instead, the Department of Public Social Services, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry individually and in concert have made false
allegations; fabricated evidence, committed perjury, had ex-parte
communication with the juvenile court judge and have maliciously
presented scientific evidence which is not only questionable but which is
not based on any validated scientific technique. The inflammatory
reports presented by the Department of Public Social Services, the
Banning Police Department, Nicole Stolar, Alicia Dickens, Dr. Sandra
Murray, Robert Fisher and Jeff Perry prejudiced the juvenile court judge
to such a degree that plaintiff's due process rights were violated and he
has not received a fair trial in the flawed juvenile dependency
proceedings.

6. The Department of Public Social Services, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry, individually and in concert, conspired to conceal
exculpatory evidence in order to charge and then prosecute Plaintiff on

“alleged facts” they knew to be untrue or which was based upon

Civil Rights Violation - 5

 

 

 
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fabricated evidence manufactured pursuant to two unlawful search and
seizures in plaintiff's home.

During the first unlawful search and seizure, detectives Robert Fisher,
Jeff Perry and social worker Nicole Stolar unlawfully coerced entry into
plaintiff's home after a tragic accidental drowning of plaintiff's five year
old son Jason. Then in violation of plaintiff's constitutional rights under
the 4™ and 14" amendments, unlawfully interview plaintiff's son and
unlawfully removed plaintiff's children without a warrant, court order or
exigent circumstance.

During the second unlawful search ten or more unknown Banning, Ca
police officers during the arrest of plaintiff's wife unlawfully read
plaintiff's papers where he had attempted to file a complaint with the
Department of Justice against the police detectives Robert Fisher, Jeff
Perry and social worker Nicole Stolar for the first unlawful coerced
involuntary consent search. The police officers also conducted a full
search of plaintiff's home, looking in drawers, cabinets, the refrigerator,
opening plaintiff's legally registered gun and checking registration, and
generally looking in places not covered under the arrest warrant. This
search was nothing more than a fishing expedition in violation of the

warrant requirement. A lawful warrant must specify what is to be

Civil Rights Violation - 6

 
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searched for and where the officers may search.

The Department of Public Social Services, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry’s actions are evidenced by a reckless and callous
disregard for and deliberate indifference to Plaintiffs’ constitutional
rights and the defendant(s) responsibilities to the United States and
California Juvenile Dependency System and to the United States and
California Criminal Justice System.

As a result of the Department of Public Social Services, the Banning
Police Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray,
Robert Fisher and Jeff Perry’s actions, Plaintiff has suffered deprivations
of the rights guaranteed to him under the Fourth and Fourteenth
Amendments to the Constitution of the United States and he has suffered
economic hardship, financial losses, emotional, and physical harm.
Plaintiff has also suffered the separation from his wife and children, loss
of marital relations for over one year, irreparable harm to his reputation
and a devastating degradation to his quality of life.

Moreover, because the defendant(s), Nicole Stolar, Alicia Dickens, Dr.
Sandra Murray, Robert Fisher and Jeff Perry and the departments they

work for have policies, customs, practices, and general misconduct issues

Civil Rights Violation - 7

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which raises a substantial risk of irreparable injury to other persons in the
State of California and in particular, Riverside County, California,
Plaintiff seeks the entry of an Order and Permanent Injunction, as set
forth in further detail below, to protect all persons in the State of
California and specifically in Riverside, County to prevent such

misconduct from ever happening again.

THE PARTIES
A. THE PLAINTIFF

a. Plaintiff Royce Keith Williams is a citizen and resident of, The State
of California, and is presently residing at 48796 Taos Road, Cabazon,
California.

B. THE DEFENDANT(S)

a. Defendant, the Department of Public Social Services aka Child
Protective Services aka (CPS), is and has been at all times relevant to
this action as the Department with jurisdiction in the State of
California in the capacity of the Department responsible for child
protection and placement with foster families in California. In that
capacity defendant serves as the supervisory arm of the social worker

Defendant(s) Nicole Stolar and Alicia Dickens who work from the

Civil Rights Violation - 8

 

 

 
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defendants local office located at 161 W Ramsey, in Banning,
California.

Defendant, Nicole Stolar is, and has been at all times relevant to this
action as a citizen and resident of California. In the capacity of social
worker assigned to handle immediate response cases, while working
from the local office of the Department of Social Services aka (CPS),
located at 161 W Ramsey in Banning, California.

Defendant Alicia Dickens, is, and has been at all times relevant to this
action as a citizen and resident of California. In the capacity of social
worker assigned to take interviews of parents and then write social
study reports to present to the juvenile courts as evidence, while
working from the local office of the Department of Social Services _

aka (CPS) located at 161 W Ramsey in Banning, California, .

. Defendant Dr. Sandra Murray, is and has been at all times relevant to

this action as a citizen and resident of California. In the capacity of a
private pediatrician/(forensic pediatrician) contracted with the
Department of Social Service aka (CPS) to provide care and
emergency treatment for children suspected as being victims of child
abuse. Her other duties include testifying before the court as a

forensic pediatrician for the Department of Social Services. Dr.

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Murray practices at 27800 Medical Center Road, Mission Viejo,

California.

. Defendant Robert Fisher is, and has been at all times relevant to this

action as a citizen and resident of California. In the capacity of a
police detective assigned as an investigator responsible to the local
Banning Police Department, located at located at 361 W Ramsey,
Banning, California.

Defendant Jeff Perry is, and has been at all times relevant to this
action as a citizen and resident of California. In the capacity of a
police detective assigned as an investigator responsible to the local
office Banning Police Department located at located at 361 W

Ramsey, Banning, California .

. The Banning, California Police Department is and has been at all

times relevant to this action as the Banning California Police
Department with jurisdiction in the City of Banning California. In
their capacity as the Supervisory arm of the Banning, California
police officers, Robert Fisher and Jeff Perry, who work from their
local office at 361 W. Ramsey, with local jurisdiction in Banning,

California.

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JURISDICTION AND VENUE
Jurisdiction is invoked pursuant to 28 U.S.C. 1343(a) (1) (2) (3) and 42
U.S.C. 1983. This Court has original jurisdiction over Plaintiffs’
constitutional and federal law claims pursuant to 28 U.S.C. § 1331 and
28 U.S.C. § 1343(a).
This Court has supplemental jurisdiction over Plaintiff's state law claims
pursuant to 28 U.S.C. § 1367(a) because they are part of the same case
and controversy described by Plaintiffs’ federal claims.
Venue is proper in the Central District of California pursuant to 28
U.S.C. §§ 1391(b)(1), (2), and (3), because most or all of the
Defendant(s) reside, work or may be found in Riverside County,
California and all or a substantial part of the events giving rise to these
claims occurred in the Riverside County, California.
This court has further jurisdiction because social workers, police and all
other governmental employees may be sued for deprivation of civil rights
under 42 U.S.C. 1983, if they are named in their official and individual
capacity. Hafer v. Melo, (S.Ct.1991).
Social workers or police officers are not immune for coercing or seizing
a child from the parent without a warrant or court order. Calabretta v.

Floyd (9th Cir. 1999) Persons may not be seized without a court order or

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being placed under arrest. Children may not be removed from their home

or seized from their parent by social workers/DCS, or police without

notice and a hearing unless the officials have a reasonable belief that the
child is in ‘imminent danger’.
17. California Government Code 820.21 provides that:

(a) Notwithstanding any other provision of the law, the civil immunity
of juvenile court social workers, child protection workers, and other
public employees authorized to initiate or conduct investigations or
proceedings pursuant to Chapter 2 (commencing with Section 200) of Part 1
of Division 2 of the Welfare and Institutions Code shall not extend to any

of the following, if committed with malice:

(1) Perjury.

(2) Fabrication of evidence.

(3) Failure to disclose known exculpatory evidence.

(4) Obtaining testimony by duress, as defined in Section 1569 of
the Civil Code, fraud, as defined in either Section 1572 or Section 1573 of the
Civil Code, or undue influence, as defined in Section 1575 of the Civil Code.

(b) As used in this section, "malice" means conduct that is
intended by the person described in subdivision (a) to cause injury to the Plaintiff
or despicable conduct that is carried on by the person described in subdivision (a)
with a willful and conscious disregard of the rights or safety of others.

18. This court has further jurisdiction over the Department of Public Social
Services and the Banning Police Department under California

Government Tort Liability § 815.2(a) which makes a public entity

Civil Rights Violation - 12

 

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vicariously liable for injury caused by an act or omission of its
employee(s) within the scope of his or her employment.
PRELIMINARY STATEMENT

19. Plaintiff is bringing this complaint for actions performed “under the
color of law” in violation of Plaintiff's constitutional rights and other
laws which were clearly established at the time, which were outside the
scope of the lawful authority of police detectives Robert Fisher, Jeff
Perry, Nicole Stolar, Alicia Dickens, and Dr. Sandra Murray.

20. Plaintiff will show this court that the Department of Public Social
Services, the Banning Police Department, Nicole Stolar, Alicia Dickens,
Dr. Sandra Murray, Robert Fisher and Jeff Perry are not entitled to
absolute immunity, qualified immunity or quasi-judicial immunity,
because while acting “under color of law”, outside the scope of their
lawful authority, the defendants violated the Plaintiff's constitutional
rights or rights reserved to the Plaintiff under other clearly established
laws existing at the time.

21. Three of named Defendant(s) Robert Fisher, Jeff Perry and Nicole Stolar,
unlawfully coerced entry into Plaintiff's home, unlawfully interviewed
Plaintiff's son Travis Lee Williams and then removed Plaintiffs children

without a warrant or court order or exigent circumstance. Robert Fisher,

Civil Rights Violation - 13

 

 
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Jeff Perry or Nicole Stolar, did NOT seek to apply for or obtain a warrant
or court order prior to removing plaintiff’s son Travis Lee Williams or
his half sister Tabitha Watak from their home in spite of the fact that the
constitution of the United States and clearly establish law existing at the
time, required a warrant or court order absent exigent circumstance or
imminent danger.

Alicia Dickens and Dr. Sandra Murray, willfully and maliciously
participated in a civil conspiracy to deprive plaintiff of his constitutional

rights by the use of fabricated evidence and perjury and the malicious

- creation of false or misleading reports presented to the court specifically

intended to deprive plaintiff of his constitutional rights to parent his son
free of government interference.

Plaintiff will show that Nicole Stolar, Alicia Dickens, Dr. Sandra Murray,
Robert Fisher and Jeff Perry while coming to a meeting of the minds,
acted in collusion and in a civil conspiracy designed to maliciously
deprive the plaintiff of his constitutional rights and other rights granted to
plaintiff under laws clearly established at the time to parent his son free

from government interference.

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PLAINTIFF’S LEGAL THEORY AGAINST THE GRANT OF ABSOLUTE
IMMUNITY, QUALIFIED IMMUNITY OR QUASI-JUDICIAL

IMMUNITY TO THE DEFENDANT(S)

Plaintiff recognizes as do most State and Federal courts that police
officers, social workers and witnesses may be entitled to; absolute
immunity or qualified immunity and in some special cases quasi-judicial
immunity while acting “under color of law”, so long as they are acting
within the scope of their lawful authority.

However, as in the instant case, the acts committed by the defendants The
Department of Public Social Services aka CPS, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry performed acts “under the color of law” which
was outside the scope of their lawful authority must result in the loss of
immunity. These unlawful actions maliciously deprived plaintiff of his
constitutionally guaranteed rights. This court must NOT grant immunity
to the Department of Public Social Services, the Banning Police
Department, Nicole Stolar, Alicia Dickens, Dr. Sandra Murray, Robert
Fisher and Jeff Perry in this case because plaintiff's claims are based on
well established Constitutional and State law that defeats immunity for

official who violate constitutional rights.

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27.

Private parties may commit acts “under color of state law” under certain
circumstances; for example: it has been held that a physician, who
contracts with the state to provide medical care to inmates, acts
under the “color of state law”. In Adickes v. S.H. Kress & Co., 398
U.S. 144 (1970), the Court held that to act “under color of state law”, a
defendant need not be an officer of the state; it is sufficient that
he/she "is a willful participant in joint activity with the State or its
agents." Id. at 152 (quoting U.S. v. Price, 383 U.S. 787, 794 (1966));
additionally the Court has also held that private persons who are
authorized to exercise state authority are deemed to be acting "under
color of state law." West v. Atkins, 487 U.S. 42, 54-55 (1988). In
Atkins, the Court held that a private physician under contract with North
Carolina to provide medical services for prisoners was acting "under
color of state law." Id. at 57; accord Conner v. Donnelly, 42 F.3d 220,
225 (4th Cir. 1994) (private physician acting under color of state law
when treating prisoner under referral from prison physician);
In the instant case Dr. Sandra Murray was under contract with CPS, to
treat and diagnose children suspected as being victims of child abuse,

Dr. Sandra Murray was also contracted as a pediatrician/forensic

Civil Rights Violation - 16

 
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pediatrician. CPS and their contracted employees act “under color
of law”.

Plaintiff alleges that Dr. Murray was acting “under color of law”, in
performing her duties in the instant case and that she may not be treated
“simply as a witness” for the purposes of granting immunity. Dr.
Murray was a willful participant and co-conspirator acting in collusion
with the State or its agents in activities which were maliciously intended
to deprive plaintiff of his constitutional rights under the 4™ and 14"
amendment. These acts included the writing of a medical report which
contained legal wording that Dr. Murray could only have obtained on
been aware of by acting in collusion with the Department of Public
Social Services or the social workers involved in this case and she was
not simply testifying as a forensic pediatrician. While acting in a civil
conspiracy with the Department of Social Services, aka CPS and their
employees, Dr. Murray willingly and knowingly participated in
presenting false or misleading information to the juvenile court with the
express intent to deprive plaintiff of his constitutional rights to parent his

son free from governmental interference.

Civil Rights Violation - 17

 
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ASSESSING WHETHER THIS COURT SHOULD GRANT IMMUNITY TO
ANY OF THE OFFICIALS OR PRIVATE PARTIES IN THIS CASE
I. Constitutional violation:

29. [1] In assessing whether a court should grant qualified immunity to a
public official or private party, a court must first decide whether “the
[official’s] conduct violated a constitutional right.” Saucier v. Katz, 533
U.S. 194, 201 (2001). “Parents and children have a well-elaborated
constitutional right to live together without governmental
interference.” Wallis v. Spencer, 202 F.3d 1126, 1136 (9th Cir. 2000).

30. “The Fourteenth Amendment guarantees that parents will not be
separated from their children without due process of law ROGERS v.
COUNTY OF SAN JOAQUIN except in emergencies.” Mabe v. San
Bernardino County, Dep’t of Pub. Soc. Servs., 237 F.3d 1101, 1107 (9th
Cir. 2001). Officials violate this right if they remove a child from the
home absent “information at the time of the seizure that establishes
‘reasonable cause to believe that the child is in imminent danger of
serious bodily injury and that the scope of the intrusion is reasonably
necessary to avert that specific injury. ” Jd. at 1106 (quoting Wallis,
202 F.3d at 1138). The Fourth Amendment also protects children from
removal from their homes absent such a showing. Doe v. Lebbos, 348

F.3d 820, 827 n.9 (9th Cir. 2003). Officials, including social workers,

who remove a child from its home without a warrant, must have

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reasonable cause to believe that the child is likely to experience
serious bodily harm in the time that would be required to obtain a
warrant. Mabe, 237 F.3d at 1108.

31. Immunity is defeated if the official took the complained of action with
malicious intention to cause a deprivation of rights, or the official
violated clearly established statutory or constitutional rights of which!
a reasonable person would have known.

FACTUAL ALLEGATIONS

32. Approximately 16 months prior to December 11, 2005, plaintiff brought
his wife’s daughter Tabitha to America, from Indonesia, after a horrific
fire that killed plaintiffs wife’s mother, Evi Watak, (Tabitha’s
grandmother), and Tabitha’s two brothers Andikha and Emanuel, and
three other women living in the grandmother’s home.

33. Tabitha was burned on 65% of her body in a house fire in Indonesia and
she was severely scarred and psychologically damaged when she arrived
in America. Tabitha was the only survivor of this horrific fire that killed
the only family she had ever known. When Tabitha came to America the
plaintiff was aware of the physical damage to Tabitha, but he was not
aware of the extent of the psychological problems until much later.

Plaintiff believed that Tabitha was in generally good health otherwise.

Civil Rights Violation - 19

 

 

 
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Somewhere between 9-13 months after Tabitha came to the plaintiffs
home Tabitha revealed that she had been sexually abused since she was
three years old in Indonesia by the mother’s cousin. It also became pretty
obvious that Tabitha was suffering psychological problems and physical
problems including enuresis and encoprisis, and she refused to speak
English in the parent’s home.

Prior to the house fire in Indonesia, the parents had been living at 1022
Juniper Place with their two sons and were very happy and had no
problems other than dealing with Jason’s Sotos syndrome. The parents
were coping well and did not have any real issues.

After Tabitha arrived the parents were dealing with two special needs
children. One who had been severely burned (Tabitha) and was
psychologically damaged and one who had Sotos Syndrome (Jason). The
parents were trying to find an Indonesian psychiatrist to help Tabitha, but
were unable to locate one within 1000 miles of the home. The parents
were planning to send Tabitha back to Indonesia in January in order to
get a psychiatrist who spoke her dialect of Indonesian to treat her
psychological problems. They just wanted to give Tabitha a nice
Christmas before she went back to Indonesia.

At approximately twenty minutes until 7:00 a. m. on the morning of

Civil Rights Violation - 20

 
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December 11, 2005 at Plaintiff's residence located at 1022 Juniper PI,
Banning, California, plaintiff's youngest son Travis, awoke his mother
and told his mother that plaintiff's five year old son Jason Williams had
managed to escape from the plaintiff's home. Jason got out of the home
with the help of his then seven year old half-sister Tabitha Watak.
Tabitha used a pair of pliers that she had snuck out of the garage in order
to remove a lock from her bedroom window while the parents were
sleeping at their normal time.

The parents made a brief search for Jason and then called 911. The
emergency responders arrived almost immediately and then about 45
minutes later, Jason Leon Williams was found deceased in a neighbor’s
swimming pool.

The neighbor’s swimming pool barrier fence, did not meet city or state
codes, and the police report stated that the two gates in the barrier fence
were not locked.

Plaintiff states that upon information and belief the emergency
responders were on the scene from about 7:40 until about 10:00 a. m. that
morning. The responders including police and firefighters had been
given full access to plaintiff’s residence both inside and out for the entire

time they were there and NONE of the 50+ police or firefighters reported

Civil Rights Violation - 21

 

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plaintiff's children as being in “imminent danger” or “exigent
circumstance”.

At approximately three thirty that same afternoon two Banning,
California police detectives, Robert Fisher and Jeff Perry came back to
the home to investigate further. The detectives initially encountered
plaintiff's wife in the front yard. The detectives requested plaintiff's
wife to sign a form consenting for them to enter the home. The
detectives stated they only wanted to look at the window and back yard.
Plaintiff's wife refused to consent multiple times telling the detectives to
come back tomorrow, that she wanted to be left alone to pray and grieve.
The detectives requested plaintiff's wife to go and get her husband saying
they wanted to talk to him. Plaintiff’s wife came into the home and told
her husband that the detectives wanted to speak with him and stated the
detectives wanted to come into the home to look at the window and back
yard. Plaintiff's wife also stated to the plaintiff that she had refused to
grant her consent and asked the plaintiff to do the same.

The detectives asked the plaintiff for his consent to enter the home and
the plaintiff tried to object many times, but each time the detective
Robert Fisher interrupted the plaintiff and told him he could refuse to

sign but they were going to just use a warrant and go in “NO MATTER

Civil Rights Violation - 22

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WHAT”. The detectives refused to leave after Plaintiff objected as
many as 10 or more times.

The detectives continued to badger the plaintiff for nearly 20 minutes
with their request for consent, repeatedly telling the plaintiff he could
refuse to sign the form but that if he did not sign the form, they would
just use a warrant and go in “No matter what”. Trying to be somewhat
cooperative without consenting to entrance into his home, the Plaintiff
told the detectives they could look at the back yard and window from his
back yard but not from the inside of the house.

The detective then forcefully told the plaintiff “NO, we want to see from
the inside”. The detectives again told the plaintiff he could refuse to sign
but that they were going in “No matter what”.

Plaintiff then said to detective Fisher, “Wait a minute, you mean to tell
me that no matter what I say, no matter what I do, whether I like it or not
and whether I sign your form or not you are going into my house, “NO
MATTER WHAT”! Detective Fisher then replied, “Yes we are going
in “NO MATTER WHAT”. Both the plaintiff and plaintiff's wife were
in the front yard when they were refusing to give consent to the
detectives to enter their home.

The plaintiff told the detective he could not read or understand the

Civil Rights Violation - 23

 

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consent form and that he was suffering sleep deprivation and emotional
stress and orief from losing his son. He told the detectives he had tried to
read some information a little earlier and could not comprehend two
words put together.

Even though the plaintiff was being told he could refuse to sign, it was
immediately rebutted, by the detectives saying were going in “NO
MATTER WHAT”, to the point that the plaintiff did not feel he could
refuse. In the plaintiff's confused state of mind and grief, and after being
told the detectives were going into his home “NO MATTER WHAT”,
he eventually acquiesced to the two armed police detective’s demands
and involuntarily signed the consent form even though he could not read
it, did not understand it and the detectives had not read it to him. The
plaintiff was telling the detectives at the time he signed the form that he
did not like it, that he and his wife just wanted to be left alone to pray and
grieve. The plaintiff told the detectives, “I don’t like it but I guess I
can sign as long as you only look at the window and back yard”.
Plaintiff felt he had no real choice since they had refused to leave for
such a long time and the two armed detectives were blocking plaintiff's
entrance back into his home by strategically placing themselves between

plaintiff and his front door. Plaintiff did not feel free to leave since he

Civil Rights Violation - 24

 
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felt that based on the detectives position and posture that the two armed
detectives intended to block him from going back in his home.

After the unlawfully coerced entry, the detectives conducted a full search
of plaintiff's home, even though they had been told they could only look
at the window and back yard.

While looking at the window in Tabitha’s room, detective Jeff Perry saw
that Tabitha had a bruise on her left ear. The bruise became visible when
Tabitha lay down on her bed to sleep and then her hair fell back exposing
the bruise. Detective Jeff Perry then called the CPS immediate responder
Nicole Stolar to the scene to investigate.

Nicole Stolar responded to the call and entered the plaintiff's home
without identifying herself when challenged to do so by plaintiff's wife,
just stating she needed to see the detectives, and then Stolar proceeded to
the back yard where the detectives were.

The social worker and the detectives worked out a plan in the back yard
to remove the children without a warrant or court order in violation of
constitutional laws requiring them to apply for a warrant or court order
absent “exigent circumstances” or “imminent danger”.

Upon information and belief plaintiff states that in order to circumvent

the need for a warrant or court order and for the purpose of removing the

Civil Rights Violation - 25

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children, detective Robert Fisher, detective Jeff Perry and social worker
Nicole Stolar, decided to make an exaggerated false claim of exigency to
accomplish their goal of removing plaintiff's children.

The detective Robert Fisher and the social worker Nicole Stolar
unlawfully interviewed plaintiff’s four year old son Travis Williams over
his mother’s objections, without a warrant, without a court order, absent
exigent circumstances and without the parent’s permission. Travis was
taken into his sister’s bedroom and the parents were locked out during the

unlawful interview.

There was no evidence that either parent had ever beaten any child or that

either parent had molested any child. It has been well documented
during the court proceedings that Tabitha stated several times and has
continued to state that her brother Jason caused the questionable bruise
on her ear by hitting her with a broom.

After the interview of Travis, the social worker Nicole Stolar and the
detective Robert Fisher came into the living room and identified Nicole
Stolar as a social worker. Detective Fisher then told the parents he was
removing the children from the home.

The social worker Nicole Stolar then began asking the parents to sign

some papers that the parents did not understand since they were in a state

Civil Rights Violation - 26

 
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of confusion and extreme grief.

After the social worker Nicole Stolar, identified herself the parents were
asked to sign some papers that plaintiff barely remembers. In any event,
the parents had not consented to the interview of Travis Williams prior to
the interview.

Tabitha was soundly sleeping in her parent’s bed at the time the detective
Robert Fisher decided to remove the children from their home, she was
not in any distress, and Tabitha had been happily playing with her
brother Travis for nearly 5 hours, prior to the detective’s arrival.
Detective Fisher made a bold display in front of the parent’s that it was
his decision to remove the children and not the social worker’s decision.
Upon information and belief, Plaintiff believes this was done because
Nicole Stolar was aware she did not have the statutory authority to
remove a child under these circumstances without a warrant or court
order.

Nicole Stolar had a responsibility to stop the detective, or at least refuse

to participate, when she clearly knew this was a violation of plaintiff's

_ constitutional rights. Nicole Stolar willingly participated in this

conspiracy to remove plaintiff's son Travis Lee Williams from his home

without a warrant or court order. Nicole Stolar took custody of the

Civil Rights Violation - 27

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plaintiff's children from detective Fisher in plaintiffs front yard.

Nicole Stolar took pictures of Tabitha’s ear with her cell phone and
emailed them to Dr. Sandra Murray who determined from a cell phone
picture and without any physical examination that Tabitha should be
taken to the emergency room.

An unknown nurse involved in the treatment of Tabitha, for the bruise on
her ear, called the plaintiff and told him that the treatment consisted of a
warm rag followed by a cold rag. The purpose of this type of treatment is
purely cosmetic in that it helps to keep the bruise from getting darker and
may in some cases reduce the amount of time the bruise is visible.
Tabitha had never complained that she was in any pain to either of the
parents. No other treatment was ever required or provided, as far as the
plaintiff is aware for any alleged serious physical injuries. It is plaintiff's
understanding, that Tabitha has been seeing a psychiatrist. Plaintiff has
stated all along that he had been seeking a psychiatrist for Tabitha just
prior to her removal from plaintiff's home.

The unknown nurse also told the plaintiff that Tabitha had been placed in
the mental ward because they did not have enough bed space to put her
anywhere else.

The children were then placed in foster care and juvenile dependency

Civil Rights Violation - 28

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proceedings were commenced against the plaintiff and plaintiff's wife.
The parents were called in to the CPS office to give a statement. The
statements were taken by Alicia Dickens and hand written into a |
notebook, without the aid of an electronic recording device. When both
parents questioned this method of interview, Alicia Dickens just stated
that she preferred to do it that way.

After the statements were provided, Alicia Dickens completely changed
what was actually said by the parents and presented the first social study
to the Juvenile Court during the Detention hearing as a complete work of
fabrication.

One of the most damaging statements in the social study was when Alicia
Dickens asked the plaintiff if he had seen the bite marks on Tabitha.

“The plaintiff's actual statement to Alicia Dickens was that he had not
seen bite marks but that he had seen burn scars”, which at the time were
the marks that Alicia Dickens was referring to. In a malicious act, Alicia
Dickens wrote in her social study report that when the father was asked if
he had seen the bite marks, that he replied he had seen the bite marks.
Alicia Dickens knew this was a false statement and it was deliberately
and maliciously put into the report in order to terminate plaintiff's

parental rights to his only remaining son. The social study report failed

Civil Rights Violation - 29

 
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to include the fact that plaintiff’s son desperately wanted to come home
to his mother and father. The report stated that the plaintiff admitted to a
criminal history, when the plaintiff was working at the Casino Morongo
and had been passing background checks for twenty years and had no
criminal history. The fabricated social study report was nothing more
than a malicious act of perjury by Alicia Dickens intended to deprive
plaintiff of his constitutional rights to parent his son free from
government interference done in collusion and conspiracy with Nicole
Stolar, and Dr. Sandra Murray.

Dr. Sandra Murray wrote a medical report that seemed to allege child
abuse but did not say who the abuser was or where any abuse had
occurred. The report made findings of probable causation for injuries
even though Dr. Murray had not conducted any independent investigation!
to determine the cause. Dr. Murray alleged that Tabitha had “bite mark
scars” even though Dr. Murray has NO expertise in odontology. It is
notable that even when odontologist are shown pictures of known human
bite marks they are not able to correctly identify them as human bite
marks 63.5% of the time in a blind study. The medical report also
referenced by exact wording some of the codes in the WIC which only a

social worker would have been aware of and which was needed to

Civil Rights Violation - 30

 
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support a petition to terminate parental rights. The report was written
with a vagueness purposely designed to imply the guilt of the plaintiff or
his wife as a child abuser even though the plaintiff or his wife was not
actually named.

The Defendant(s) Nicole Stolar, Alicia Dickens, Dr. Sandra Murray and
police detective Robert Fisher continued to allege that the round scars on
Tabitha’s body were “bite mark scars” even though the plaintiff had
repeatedly stated the scars were burn scars from the house fire in
Indonesia and had shown them pictures and video evidence to prove his
claim.

The structure and content of the social study was written in a way that
would lead any reasonable person to conclude that, the only way this
report could have been written, with the legal wording and content
contained in it, would have been if it were written maliciously in
collusion and conspiracy with the social workers, Nicole Stolar and
Alicia Dickens in an act of perjury and fraud on court.

The medical report was not the work of someone performing as a medical
witness but was instead the work of a co-conspirator, intent to violate
petitioner’s constitutional rights to parent his son. Plaintiff's complaint

in this case is not about the content of Dr. Murray’s medical report or the

Civil Rights Violation - 31

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actual content of her testimony as a witness but instead the fact that the
medical report was written in collusion and civil conspiracy with the
social workers while acting “under color of law” outside the scope of
her lawful authority, specifically with the intent to deprive the plaintiff of
his constitutional rights to parent his son free of government interference.
The first fabricated or misleading social study report was used to
maliciously influence and induce the juvenile court judge to continue
detention of plaintiff's son Travis. The social study report maliciously
failed to provide known exculpatory evidence and was written in a
malicious manner using fabrication and outright perjury designed to
inflame the judge. In fact Judge Becky Lynn Dugan actually made the
statement at the beginning of the Detention Hearing that she was inclined
to terminate plaintiff's parental rights based solely on the seriousness of
the charges, before even hearing the defense.

The second social study report was so full of fabrication or misleading
statements, that a reasonable person could only perceive this as a
malicious and intentional perjury committed by Alicia Dickens designed
to violate plaintiffs constitutional rights.

Both social study reports were given to the plaintiff and his attorney just

20 minutes prior to the hearings. This untimely notice amounted to a

Civil Rights Violation - 32

 
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substantive due process error. The second fabricated social study report
was maliciously used to deny reunification services to the plaintiff when
the social worker knew that the denial of reunification services would
absolutely insure that the plaintiff could not use bonding as a reason not
to terminate his rights since the law requires contact to establish bonding.
Plaintiff desperately desired to see his son Travis and Travis had
indicated on the one and only visit that he wanted to go home.

The Detention Hearing lasted less than 10 minutes and the
Jurisdiction/Disposition Hearing lasted less than 15 minutes. Plaintiffs
appointed counsel did not object to the untimely social study reports in
either case and she did not perform any investigation of plaintiffs case or
test any of the evidence provided to the court by the defendant the
Department of Public Social Services. Plaintiff’s court appointed
attorney signed an affidavit stating that she had 550 cases at the time and
that she had performed no investigation and that she knew this was a
complicated case. Plaintiff was hung out to dry in the courtroom by a
completely one sided presentation of the case. No one tested or
challenged the prosecutors theories that the marks alleged to be bite
marks were as plaintiff had stated all along, in fact burn scars.

Tabitha stated in the CPS interview that her mother bit her and pulled her

Civil Rights Violation - 33

 
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hair and pushed her head into the floor. This was a true statement but it
did not happen in America and was not an act of child abuse. Before the
fire in Indonesia Tabitha was standing between her mother and her
grandmother in the grandmother’s home in Indonesia. The grandmother
had stolen some money from the mother and they got into a fight about it.
The grandmother pulled a knife and Tabitha’s mother pulled her out of
the way, accidentally pulling her hair. When Tabitha tried to get up the
mother pushed her back down to keep her from getting cut. Plaintiff had
related this story to detective Fisher during the interview of plaintiff.
Tabitha also alleged her mother bit her. This was also true, but taken out
of context, time and location. While in Indonesia Tabitha bit her
mother’s finger so hard you could see the bone. The mother bit Tabitha
on the finger to show her that it hurt and to make her let go, but did not
break the skin. This was not the alleged biting that the social worker was
trying to prove. The plaintiff had related this story to detective Fisher
during the interview of plaintiff.

The allegations made in the juvenile courtroom were based on interviews
of Tabitha taken during an unlawful detention without an Indonesian
interpreter. The detention was unlawful since the seizure and removal of

Tabitha was unlawful without a warrant or court order.

Civil Rights Violation - 34

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Upon information and belief the plaintiff suspects the interview questions
may have been asked with leading or suggestive questions. Plaintiff is
certain that no Indonesian interpreter was present during the interviews
since CPS stated that as a fact. Upon information and belief, plaintiff
states that the statements taken from Tabitha were out of context and
without merit as to the prosecution of the plaintiff, since the event
occurred in Indonesia and plaintiff was still in America when these
incidents took place and he could not have taken part in or been held
responsible for these actions.

All of the original bite mark allegations in the juvenile proceedings were
made without consulting an odontologist first. The social study reports
and the medical reports repeatedly referred to “bite mark scars”. Bite
marks leave bruises not scars. The multiple alleged bite mark scars
would have meant that skin would have had to be removed in order to
form a scar. Fires leave “scars”.

Plaintiff knows for certain that Tabitha never received a bite mark that
removed skin.

Tabitha was not modest and plaintiff had sometimes seen Tabitha without
clothing but he never saw evidence of bruises or scars that would have

indicated that anyone had bitten Tabitha or abused her.

Civil Rights Violation - 35

 
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Plaintiff was appointed ineffective assistance of counsel in the juvenile
court action and had no fair opportunity to object to the multiple due
process violations committed against him, even though he was
demanding his attorney raise those objections from the beginning of the
proceedings.

Plaintiff has encountered major resistance from any of his court
appointed attorneys with regard to his claims of substantive due process
violations and ineffective assistance throughout the proceedings.
Michelle Morris, plaintiff's juvenile court attorney stated flatly to
plaintiff that she could not and would not raise due process issues in
Judge Becky Lynn Dugan’s courtroom. Plaintiff then tried to get his
wife’s attorney Melvin Friedland to raise the issue of due process.
Plaintiff was told that due process issues could not be raised in juvenile
court. Plaintiff then contacted David Beauvais a civil rights attorney in
Oakland, California who told him due process claims could be raised in
any court but that he would not take the case on contingency. Plaintiff
complained again to his appellate attorney Christopher Booth who told
the plaintiff that the due process issue could not be raised since it was
outside the court record.

Plaintiff's present appellate attorney Patti L. Dikes has raised the issue of

Civil Rights Violation - 36

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ineffective assistance, but now the State Court appellate judges are
refusing to listen saying that plaintiff had lost his opportunity to raise
these objections since they could have been raised at an earlier time.
Plaintiff ask this court to find that plaintiff has not had a fair opportunity
to raise his claims of ineffective counsel or due process violations at an
earlier time, in violation of his substantive due process rights, by reason
of the reluctance of plaintiff's court appointed counsel to raise these
claims on his behalf and by reason that the case was a cut out case that
expedited the proceeding so fast that the plaintiff was denied due process
in the lower court.

The matter of ineffective assistance and substantive due process
violations is relative to this case to show how Defendant(s) violation of
plaintiff's constitutional rights has resulted in a miscarriage of justice and

cause plaintiff irreparable harm at the hands of the the Department of

_ Public Social Service aka CPS, the Banning Police Department, Robert

Fisher, Jeff Perry, Nicole Stolar, Alicia Dickens and Dr. Sandra Murray.
Right after the 366.26 hearing plaintiff's wife’s attorney Melvin

Friedland told plaintiff that he had witnessed the Department of Public
Social Services aka CPS have ex-parte communication with Judge Becky

Lynn Dugan prior to the Jurisdiction/Disposition Hearing. Mr. Friedland

Civil Rights Violation - 37

 
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did not know what the conversation was about but he was concerned
enough about it to mention it to the plaintiff.

Sometime after the Jurisdiction/Disposition Hearing, detective Fisher
called the parents and told them that he suspected that someone had
bitten Tabitha and he wanted to come and take bite mark impressions of
the plaintiff and his wife. The plaintiff and his wife agreed to cooperate
and the detective came and asked the couple to bite down on Styrofoam
cups.

A few days later the detective called and said the bite mark impressions

on the cups were not good enough and that they needed to make mouth

impressions of the parents. The couple agreed and went to the police

station where an odontologist by the name of Dr. Greg Golden made the
mouth impressions. During the impressions Dr. Golden broke one of
plaintiff's wife’s teeth. Odontology is not based on any validated
scientific techniques and is considered junk science in the scientific
community.

A short time later detective Fisher called the parents in for a formal
interview. Detective Fisher told the plaintiff that he had been excluded
from the bite mark impressions and therefore was not a suspect in the

alleged biting of Tabitha. Detective Fisher then stated that the plaintiff's

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wife was guilty of biting her daughter and that he had proof that she had
bitten her. Detective Fisher told the plaintiff that he should come forth
with any information he had regarding his wife biting Tabitha. The
plaintiff told the detective that he did not believe him and that he had no
knowledge of his wife biting anyone. He stated to the detective that he
would have to show him some proof if he wanted the plaintiff to believe
his wife had bitten Tabitha. The detective stated that he did not have to
show the plaintiff anything. He then stated that the plaintiff could see the
pictures from the DA’s office after he arrested her. The plaintiff told the
detective if you want me to believe you then you need to show me the
pictures. The detective repeated he did not have to show the plaintiff
anything. Plaintiff told the detective he thought he was “full of shit”.
Detective Fisher then stated you should tell me what you know so I can
arrest her now. That will save you the embarrassment of me coming to
your house and arresting your wife in front of your neighbors. I am
going to arrest her tomorrow anyway. Detective Fisher did not arrest
plaintiff's wife the following day.

Plaintiff believes it was March 2006 when the police made the bite mark
impressions and took the parents interview. It was August 2006 before

detective Fisher returned and arrested plaintiffs wife.

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In August of 2006, plaintiffs wife was arrested for negligence and child
abuse. During the arrest there were as many as 10 or more police officers
present. The police officer’s conducted a second unlawful full search of
plaintiff's home. The arrest warrant did not authorize the officers to
conduct a fishing expedition. The officers looked in closets, drawers,
refrigerator, under beds and through plaintiffs personal papers even
checking the registration of plaintiff's .270 rifle. None of these items
were in plain view. The officers opened plaintiff's computer and looked
in places clearly not covered by the warrant. A legal search warrant must
designate the exact items to be searched for and where the officers may
look. An arrest warrant usually on allows a search of the person being
arrested and the immediate area around that person. The arrest warrant
did not authorize an unrestricted search by the Banning Police
Department.

Plaintiff learned that the Banning Police Department planned to issue an
arrest warrant for him so he made financial arrangements and waited
until the arrest warrant was actually issued. When the warrant was
issued, Plaintiff immediately turned himself in and then bailed himself
out. Seven days later the plaintiff was re-arrested for the same charges

and released about 24 hrs later when the police OR department claimed

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